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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:10CR3052
                                        )
             v.                         )
                                        )
MY TAN CAO, DA VAN CAO,                 )      MEMORANDUM AND ORDER
                                        )
                   Defendants.          )
                                        )


      There being no objection (see filing no. 56) to the Forensic Report (filing no.
57) prepared by psychologists at the Bureau of Prisons’ Metropolitan Correctional
Center regarding My Tan Cao,

       IT IS ORDERED that My Tan Cao is found competent to stand trial and to
assist counsel. Therefore, this matter–involving both My Tan Cao and Da Van
Cao–is referred to Judge Zwart for a trial setting.

      DATED this 24th day of June, 2011.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge
